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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION

 CONSOLIDATED INDUSTRIES, LLC                     )
 d/b/a WEATHER KING PORTABLE                      )
 BUILDINGS,                                       )
                                                  )
        Plaintiff,                                )
                                                  )   Civil Action No. 1:22-cv-01230-STA-jay
 v.                                               )
                                                  )   Chief Judge S. Thomas Anderson
 JESSE A. MAUPIN, BARRY D.                        )
 HARRELL, ADRIAN S. HARROD,                       )
 LOGAN C. FEAGIN, STEPHANIE L.                    )
 GILLESPIE, RYAN E. BROWN, DANIEL                 )
 J. HERSHBERGER, BRIAN L. LASSEN,                 )
 ALEYNA LASSEN, and AMERICAN                      )
 BARN CO., LLC,                                   )
                                                  )
        Defendants.                               )


                          PLAINTIFF’S MOTION TO COMPEL
                     SUPPLEMENTATION OF DISCOVERY RESPONSES

       Pursuant to Fed. R. Civ. P. 37, Plaintiff respectfully requests that the Court compel

Defendants to cure deficiencies in their written discovery responses through supplementation.

Specifically, Plaintiff requests that the Court direct each of the Defendants to supplement the

following discovery responses:

                                   Defendant Jesse Maupin

       Interrogatory Nos. 3-6 & 13-14

       Request for Production Nos. 27 & 33

                                   Defendant Barry Harrell

       Interrogatory Nos. 3, 7, & 11-12

       Request for Production Nos. 26, 30, & 32



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                                    Defendant Adrian Harrod

      Interrogatory Nos. 3-5 & 10-12

      Request for Production Nos. 24 & 30

                                    Defendant Logan Feagin

      Interrogatory Nos. 4 & 10-11

      Request for Production Nos. 24, 27, & 30

                                 Defendant Stephanie Gillespie

      Interrogatory Nos. 3-4 & 10-11

      Request for Production Nos. 24 & 30

                                    Defendant Ryan Brown

      Interrogatory Nos. 10, & 11

      Request for Production Nos. 7, 24, & 30

                                 Defendant Daniel Hershberger

      Interrogatory Nos. 4-5 & 10-11

      Request for Production Nos. 6, 24, & 30

                                    Defendant Brian Lassen

      Interrogatory Nos. 10-11

      Request for Production Nos. 24 & 30

                                    Defendant Aleyna Lassen

      Interrogatory Nos. 10-11

      Request for Production Nos. 24 & 30

                      Defendant American Barn Co., LLC (“ABCO”)

      Interrogatory Nos. 3-10, 12, & 15

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       Request for Production Nos. 10, 32, & 34-35


       In support of this motion, Plaintiff has filed herewith a memorandum of law, as well as the

following exhibits:

       1.       Excerpts of Defendant Maupin’s written discovery responses, filed herewith as

Exhibit 1;

       2.       Excerpts of Defendant Harrell’s written discovery responses, filed herewith as

Exhibit 2;

       3.       Excerpts of Defendant Harrod’s written discovery responses, filed herewith as

Exhibit 3;

       4.       Excerpts of Defendant Feagin’s written discovery responses, filed herewith as

Exhibit 4;

       5.       Excerpts of Defendant Gillespie’s written discovery responses, filed herewith as

Exhibit 5;

       6.       Excerpts of Defendant Brown’s written discovery responses, filed herewith as

Exhibit 6;

       7.       Excerpts of Defendant Hershberger’s written discovery responses, filed herewith

as Exhibit 7;

       8.       Excerpts of Defendant Brian Lassen’s written discovery responses, filed herewith

as Exhibit 8;

       9.       Excerpts of Defendant Aleyna Lassen’s written discovery responses, filed herewith

as Exhibit 9;

       10.      Excerpts of ABCO’s written discovery responses, filed herewith as Exhibit 10;



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       11.     May 5, 2023 letter from Defendants’ counsel, filed herewith as Exhibit 11;

       12.     Defendant Maupin’s First Supplemental Responses to Plaintiff’s written discovery,

filed herewith as Exhibit 12;

       13.     ABCO’s First Supplemental Responses to Plaintiff’s written discovery, filed

herewith as Exhibit 13;

       14.     Financial   documents      (redacted)   produced     by    ABCO,      Bates-stamped

AMERICANBARN-000059 & -000061, filed herewith as Exhibit 14;

       15.     Defendant Harrell’s First Supplemental Responses to Plaintiff’s written discovery,

filed herewith as Exhibit 15;

       16.     Email produced by Defendant Brown, Bates-stamped REBROWN000347, filed

herewith as Exhibit 16;

       17.     April 19, 2023 letter from Plaintiff’s counsel, filed herewith as Exhibit 17;

       18.     April 14, 2023 letter from Defendants’ counsel, filed herewith as Exhibit 18; and

       19.     Excerpts of Plaintiff’s written discovery to ABCO, filed herewith as Exhibit 19.


       In accordance with Local Rule 7.2(d), Plaintiff further requests that the Court schedule an

in-person hearing for consideration of Plaintiff’s motion. Plaintiff respectfully submits that such

a hearing is warranted given the number of discovery items in dispute and the complexity of the

issues involved.




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                                                     Respectfully submitted,

                                                     BUTLER SNOW LLP

                                                     /s/ David L. Johnson_________________
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                                                     Danny.VanHorn@butlersnow.com

                                                     Attorneys for Plaintiff



                                CERTIFICATE OF COUNSEL

       In accordance with Local Rule 7.2(a)(1)(B), I, counsel for Plaintiff certify that the parties’

counsel have conferred about the relief requested in this motion but were unable to reach accord.

Specifically, after conferring with Attorney Thomas Pasternak in writing about deficiencies in

Defendants’ discovery responses by letters dated March 24, 2023, April 14, 2023, April 19, 2023,

and May 5, 2023, as well as by email correspondence, Attorney John Dollarhide and I had a phone

conference with Mr. Pasternak about these issues on May 1, 2023.



                                                     /s/ David L. Johnson___________________
                                                     David L. Johnson




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 24, 2023, I filed the foregoing with the Court using the ECF

system, which will provide notice and a copy to counsel of record:

        Thomas G. Pasternak
        AKERMAN LLP
        71 South Wacker Drive, 47th Floor
        Chicago, IL 60606
        thomas.pasternak@akerman.com
        Attorneys for Defendants

                                                    /s/ David L. Johnson___________________
                                                    David L. Johnson


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